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                            IN THE UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF TEXAS
                                      LUBBOCK DIVISION

FIRST BANK & TRUST,                                §
                                                   §
                  Plaintiff,                       §
                                                   §
vs.                                                §
                                                   §   Cause No.5:18-cv-00234-C
REAGOR AUTO MALL, LTD. d/b/a                       §
REAGOR-DYKES OF LEVELLAND and                      §
d/b/a REAGOR-DYKES IMPORTS,                        §
FIRSTCAPITAL BANK OF TEXAS, N.A.,                  §
BART REAGOR, RICK DYKES, SHANE                     §
SMITH, SHEILA MILLER, BRAD D.                      §
BURGESS, and KENNETH L. BURGESS,                   §
                                                   §
                  Defendant.                       §

                      APPENDIX TO PLAINTIFF’S BRIEF IN SUPPORT
                   OF ITS MOTION FOR PARTIAL SUMMARY JUDGMENT
                       AGAINST DEFENDANTS REAGOR AND DYKES


         Plaintiff First Bank & Trust files this Appendix to its Motion for Partial Summary

Judgment against Defendants Bart Reagor and Rick Dykes.

       Exhibit       Appendix Pages                      Exhibit Description
         A             0005-0012      Affidavit of Jared Townsend
        A-1            0014-0019      Business Loan Agreement (Levelland)
        A-2            0021-0022      Promissory Note (Levelland)
        A-3            0024-0026      Reagor Commercial Guaranty (Levelland)
        A-4            0028-0030      Dykes Commercial Guaranty (Levelland)
        A-5            0032-0037      Business Loan Agreement (RD-Imports)
        A-6            0039-0040      Promissory Note (RD-Imports)
        A-7            0042-0044      Reagor Commercial Guaranty (RD-Imports)
        A-8            0046-0048      Dykes Commercial Guaranty (RD-Imports)
        A-9              0050         Floor Plan Balance Statement (Levelland)
        A-10             0052         Floor Plan Balance Statement (RD-Imports)
        A-11             0054         Account Statement
        A-12           0056-0115      First Bank Challenges
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        A-13             0117-0152   Payment Demand - First Bank to Reagor
        A-14             0154-0189   Payment Demand – First Bank to Dykes
         B               0191-0193   Affidavit of Matthew Miller
        B-1              0195-0205   Answer of Defendant Rick Dykes to First Bank &
                                     Trust’s First Set of Requests for Admission
         B-2             0207-0224   Defendant Bart Reagor’s Responses to Plaintiff First
                                     Bank & Trust’s First Set of Requests for Admissions
         B-3             0226-0294   Oral and Videotaped Deposition of Tim Connor (August
                                     13, 2018)
         B-4             0296-0344   Oral and Videotaped Deposition of Rick Dykes (August
                                     13, 2018)
         B-5             0346-0361   Answers of Defendant Rick Dykes to First Bank &
                                     Trust's First Set of Interrogatories
         B-6             0363-0379   Defendant Bart Reagor's Responses and Objections to
                                     Plaintiff First Bank & Trust's First Set of Interrogatories


DATED: August 30, 2019

                                                    Respectfully submitted,

                                                    STINSON, L.L.P.


                                                    /s/ Paul B. Lackey             .
                                                    Paul B. Lackey
                                                    State Bar. No. 00791061
                                                    paul.lackey@stinson.com
                                                    Michael P. Aigen
                                                    State Bar No. 24012196
                                                    michael.aigen@stinson.com
                                                    Matthew R. Miller
                                                    State Bar No. 24013165
                                                    matt.miller@stinson.com
                                                    3102 Oak Lawn Avenue, Suite 777
                                                    Dallas, Texas 75219-4259
                                                    Telephone: (214) 560-2201
                                                    Telecopier: (214) 560-2203

                                                    ATTORNEYS FOR PLAINTIFF
                                                    FIRST BANK & TRUST




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                                 CERTIFICATE OF SERVICE

         I certify that a true and correct copy of the foregoing document was served on all parties

or counsel of record via the Court's electronic filing system.

                                                      /s/ Paul B. Lackey
                                                      Paul B. Lackey




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     EXHIBIT A




                                                                          APP 0004
